se 3:17-cv-02641-AET Document 6 Filed 07/18/17 Page 1 of 2 PageID:
    ·• Complete 'items 1_. 2, and 3. Also complete"                                         ;\:st8nFJ~-~-,..:;~;.~~. ~ iX
       Item 4 If Restricted Delivery I$ desired.
     • Print your name. and address on the reverse
                                                                                            ·x ·.i.1;,"'9A·L~M
       so that we can return the card to you.
     • Attach this card to the back of the mailpiece,
       or on the front If space permits.            ·
    1. Article 'Addressed to:                                        J7 _"2.,(Q ~   l        D. Is delivery address different from Item 1?
                                                                                                If YES, enter delivery address below:


    C-.T~G~
    ~ ~3;2~3-osO ·
    FCI /JG\fe D~                                                                            3. Service iype
                                                                                                C Certified Mal.I C t;:xpress ty'lall
    ~2000                                                                                       C Registered      C Return Receipt for Merchandise
                                                                                                C Insured Mall · C C~O.D.
    ~ ~~I~ Q?,(1>'/C-9-/.                                                                    ~. Restncted Oell'lery? (Extia Fee)               aves
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: PS Form 38.11, f'.ebruary 2004
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                                                                               Domestic Return ~ecelpt                                       102595-02-M-1540
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                                                                                 Postage & Fees Paid
                                                                                 USPS
                                                                                 Permit No. G-10


            • Sender: Plea_se print your name, address, and ZIP+4 in this box •



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                                                    AND FEDERAL BUILDING
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